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                     IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF TEXAS, DALLAS DIVISION

                                                )
SHANNON DAVES, et al.,                          )
                                                )
      On behalf of themselves and all           )
      others similarly situated,                )
                                                )
FAITH IN TEXAS,                                 )
TEXAS ORGANIZING PROJECT,                       )
                                                )
      On behalf of themselves,                  )                      Case No. 3:18-cv-154
                                                )
              Plaintiffs,                       )
                                                )
v.                                              )
                                                )
DALLAS COUNTY, TEXAS, et al.,                   )
                                                )
              Defendants.                       )
________________________________________________)

                           JOINT MOTION FOR CLARIFICATION

       The Plaintiffs and County Defendants (the “Parties”) submitted requests for modification

or clarification of the Preliminary Injunction (“the Order”), ECF No. 165. (ECF No. 168, 169, 172,

and 188.) After conferring on these requests, the Parties agree that the Court is within its power to

offer the following clarifications to the Order. The Parties agree that these clarifications further the

purpose of the Order, do not substantially alter the relationship of the parties, and will not disturb

the currently pending appeal. See See Sierra Club, Lone Star Chapter v. Cedar Point Oil. Co., Inc.,

73 F.3d 546 (5th Cir. 1996); Morales Feliciano v. Rullan, 303 F.3d 1, 6-7 (1st Cir. 2002). The

Parties respectfully move jointly for the following clarifications:

      A Public Defender may verify an arrestee’s ability to pay and explain to an arrestee the
       nature and significance of the verification process as required in Paragraph 2.
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    If the Public Defender is the one offering the affidavit, as required in Paragraph 2, then a
     Public Defender may deliver the completed affidavit to the Sheriff as required by Paragraph
     3.

    The “probable cause” hearing in Paragraph 3 is the same as the hearing described in the
     Court’s Memorandum Opinion (ECF No. 164) in finding 2.3 (i.e., the “hearing that is
     locally referred to as an arraignment” or magistration).

    The following language, agreed to by the Parties, provides the “notice due process
     requires,” as ordered in Paragraph 3:

             I am [First Name] from Dallas County Pretrial Services / the Public Defender’s
             Office. I am here to interview you and report your answers to the Court. What you
             tell me will be used to make decisions about your release from jail. I will ask you to
             provide financial information which will be used to decide whether a lawyer will be
             appointed in your defense. Also, you will need to state the amount of money that
             you can afford to pay for a bond within 24 hours of your arrest. This amount includes
             any money you may have and can obtain from family and friends while you are in
             jail. I will then also ask you to sign a paper with the financial information that you
             provided. Your answers must be truthful under penalty of law. False answers may
             be used against you. The information will be shared with the Court, the District
             Attorney and possibly other agencies. You may refuse to complete the interview,
             provide me with the financial information, or both. Do you agree to go forward with
             both the interview and providing financial information?

    Defendants are compliant with Paragraph 8 of the Order if they provide one appearance
     before a Magistrate Judge within 48-hours of arrest, so long as that appearance meets the
     requirements of an individualized assessment of bail as described in the Court’s Order (“the
     individualized assessment”).

    Defendants are compliant with Paragraph 8 of the Order if bond is denied in accordance
     with section 11a, 11b, and 11c of the Texas Constitution after providing an arrestee with
     the individualized assessment.

    In misdemeanor cases, a visiting judge or Magistrate Judge can conduct a formal
     adversarial bail review hearing as described in Paragraph 8 of the Order if (i) it is a different
     judge than the one who initially set the bail; (ii) the visiting judge or Magistrate Judge is
     vested with the same powers and authority as the Misdemeanor Judges regarding bail
     (including release on non-financial conditions); and (iii) the visiting judge or Magistrate
     Judge receives training on the risk assessment tool in use and the capabilities of Pretrial
     Services.

    The County will copy Plaintiffs’ counsel when it makes its weekly report to the district
     court as required under Paragraph 10 of the Order.
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         The purpose of Paragraph 12, relating to limitations periods for holds, can be achieved if
          arrestees are allowed to move to have the bail deemed satisfied, which would place the
          defendant in the Dallas County case on bond, subject to return to Dallas County if the
          conditions of release are not actually satisfied pending resolution of the case in another
          jurisdiction.

         Paragraph 13, and particularly the statement that “under Article 16.22, nothing in this order
          prevents the misdemeanor arrestee from being released on secured bail or unsecured
          personal bond pending the evaluation” applies to both felony and misdemeanor arrestees.


Respectfully Submitted,

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**
  Admitted solely to practice law in New York; not admitted in the District of Columbia. Practice is limited pursuant
to D.C. App. R. 49.
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 6th day of February, 2019, I electronically filed the foregoing

with the clerk of the court for the U.S. District Court, Northern District of Texas, using the

electronic case filing system of the Court.

                                                             /s/Kali Cohn
                                                              Kali Cohn



                             CERTIFICATE OF CONFERENCE

       I certify that counsel for Plaintiffs, represented by A. Dami Animashaun, Susanne Pringle,

and Kali Cohn, and Defendants, represented by Katharine David, Phil Morgan, and Eric Hudson,

conferred about the contents of this Motion via phone conference on January 31, 2019. During the

telephonic conference, counsel for the Felony Judges declined to take a position on this Motion;

however, the Parties direct the Court to the Felony Judges’ Bench Memorandum, ECF No. 193,

which argues that the Court does not have jurisdiction to clarify the injunction.



                                                             /s/Kali Cohn
                                                              Kali Cohn
